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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

                                            §
 ADVANCED CODING TECHNOLOGIES,              §     Case No. 2:24-cv-00572-JRG
 LLC,                                       §     (LEAD CASE)
                                            §
                         Plaintiff,         §     JURY TRIAL DEMANDED
                                            §
                v.                          §
                                            §
 APPLE INC.,                                §
                                            §
                         Defendant.         §
                                            §
                                            §
 ADVANCED CODING TECHNOLOGIES,              §     Case No. 2:24-cv-00687-JRG
 LLC,                                       §     (MEMBER CASE)
                                            §
                         Plaintiff,         §     JURY TRIAL DEMANDED
                                            §
                V.                          §
                                            §
 APPLE INC.,                                §
                                            §
                         Defendant.         §
                                            §



      DECLARATION OF STEPHANIE CALHOUN JEMMINGS IN SUPPORT OF
              DEFENDANT APPLE INC.'S MOTION TO DISMISS
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